                Case 23-25897                  Doc         Filed 01/10/24             Entered 01/10/24 10:11:20                    Desc Main
                                                               Document               Page 1 of 4
 Fill in this information to identify the case:

 Debtor 1                  Corbin William Archer

 Debtor 2                  Lisa Ann-Collet Archer
 (Spouse, if filing)
 United States Bankruptcy Court for the:                        District of           Utah
                                                                                      (State)
 Case number                                        23-25897




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                    12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any changes in the installment payment amount. Fil e this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

Name of creditor:                 U.S. Bank National Association                                Court claim no. (if known):                       1-1

Last four digits of any number you use to                                                       Date of payment change:
identify the debtor's account:                                                4155              Must be at least 21 days after date of       02/01/2024
                                                                                                this notice



                                                                                                New total payment:
                                                                                                Principal, interest, and escrow, if any $790.18

Part 1:                Escrow Account Payment Adjustment

 1. Will there be a change in the debtor's escrow account payment?
     No
     Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
              the basis for the change. If a statement is not attached, explain why:

                          Current escrow payment:         $                                     New escrow payment:            $

Part 2:                Mortgage Payment Adjustment

 2. Will the debtor's principal and interest payment change based on an adjustment to the interest rate on the debtor's variable-
    rate account?
     No
     Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
              attached, explain why:

                         Current interest rate:                                   %             New interest rate:                               %

                         Current principal and interest payment               $                 New principal and interest payment:      $

Part 3:                Other Payment Change

 3. Will there be a change in the debtor's mortgage payment for a reason not listed above?
          No
          Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification
                agreement. (Court approval may be required before the payment change can take effect.)
                         Reason for change:            Minimum payment calculation based on balance and days in billing cycle.
                         Current mortgage payment:             $790.54                           New mortgage payment:         $790.18




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Debtor 1                                      Corbin William Archer                           Case Number (if known)                23-25897
                         First Name              Middle Name           Last Name



Part 4:        Sign Here

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and t elephone number.
Check the appropriate box.
                        I am the creditor.

                        I am the creditor's authorized agent.


I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my knowledge,
information, and reasonable belief.


   /s/ Natalie E. Lea                                                                   Date      01/09/2024
     Signature


Print:            Natalie E. Lea                                                          Title    Authorized Agent for U.S. Bank National
                   First Name            Middle Name             Last Name                         Association



Company           Bonial & Associates, P.C.


Address           14841 Dallas Parkway, Suite 350
                  Number                Street

                  Dallas, Texas 75254
                  City                  State                   Zip Code


Contact phone             (972) 643-6600                           Email     POCInquiries@BonialPC.com




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            CERTIFICATE OF SERVICE OF NOTICE OF MORTGAGE PAYMENT CHANGE


I hereby certify that a true and correct copy of the foregoing document has been served upon the following parties in
interest on or before January 10, 2024 via electronic notice unless otherwise stated.

Debtor               Via U.S. Mail
Corbin William Archer
3861 E Evelyn Dr.
Salt Lake City, UT 84124


Debtor               Via U.S. Mail
Lisa Ann-Collet Archer
3861 E Evelyn Dr.
Salt Lake City, UT 84124


Debtors' Attorney
Michael R. Lofgran
Huntsman Lofgran Walton, PLLC
623 East Fort Union Blvd
Ste 201
Midvale, UT 84047


Chapter 13 Trustee
Lon Jenkins tr
Ch. 13 Trustee’s Office
465 South 400 East
Suite 200
Salt Lake City, UT 84111



                                                      Respectfully Submitted,
                                                      /s/ Natalie E. Lea




PAYMENT CHANGE NOTICE - CERTIFICATE OF SERVICE                                                           7405-N-1338
                                                                                                     PmtChgCOS_0001
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